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           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                     OFFICE OF SPECIAL MASTERS
                                            No. 02-0226V
                                       Filed: January 31, 2014
                                        (not to be published)

***************************
ANTHONY REID,                 *
               Petitioner,    *                           Dismissal; Hepatitis B; Asthma;
                              *                           Fatigue; Constipation
     v.                       *
                              *
SECRETARY OF THE DEPARTMENT *
OF HEALTH AND HUMAN SERVICES, *
               Respondent.    *
***************************

Clifford Shoemaker, Esq., Shoemaker and Associates, Vienna, VA for petitioner.
Alexis Babcock, Esq., U.S. Department of Justice, Washington, D.C., for respondent.


                                               DECISION1

Vowell, Chief Special Master:

        On March 22, 2002, petitioner filed a petition for Vaccine Compensation in the
National Vaccine Injury Compensation Program [“the Program”],2 alleging that the
Hepatitis B vaccination caused petitioner to develop asthma, fatigue and constipation.
The information in the record, however, does not show entitlement to an award under
the Program. On January 31, 2014, petitioner moved for a decision dismissing this
petition.

       To receive compensation under the Program, petitioner must prove either 1) that
he suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table –

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify
and move to delete medical or other information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further,
consistent with the rule requirement, a motion for redaction must include a proposed redacted decision.
If, upon review, I agree that the identified material fits within the requirements of that provision, I will
delete such material from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-
660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act” or
“the Act”). Hereafter, individual section references will be to 42 U.S.C. § 300aa of the Act.
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corresponding to one of his vaccinations, or 2) that he suffered an injury that was
actually caused by a vaccine. See §§ 13(a)(1)(A) and 11(c)(1). An examination of the
record did not uncover any evidence that petitioner suffered a “Table Injury.” Further,
the record does not contain persuasive evidence indicating that petitioner’s alleged
injury was vaccine-caused.

        Under the Act, petitioner may not be given a Program award based solely on the
petitioner’s claims alone. Rather, the petition must be supported by either medical
records or by the opinion of a competent physician. § 13(a)(1). In this case, because
there are insufficient medical records supporting petitioner’s claim, a medical opinion
must be offered in support. Petitioner has filed expert reports; however, those opinions
do not support a finding of entitlement.

      Accordingly, it is clear from the record in this case that petitioner has failed to
demonstrate either that he suffered a “Table Injury” or that his injuries were “actually
caused” by a vaccination. Thus, this case is dismissed for insufficient proof. The
Clerk shall enter judgment accordingly.


IT IS SO ORDERED.
                                   s/Denise K. Vowell
                                   Denise K. Vowell
                                   Chief Special Master




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